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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

GUN OWNERS OF AMERICA, INC.         )
8001 Forbes Place                   )
Suite 202                           )
Springfield, VA 22151               )
                                    )
and                                 )
                                    )
GUN OWNERS FOUNDATION               )
8001 Forbes Place                   )
Suite 202                           )
Springfield, VA 22151               )               COMPLAINT
                                    )               (Freedom of Information
                                    )               Act, 5 U.S.C. §552)
       Plaintiffs,                  )
                                    )
       v.                           )
                                    )
UNITED STATES SECRET SERVICE        )
Suite 8300, 950 H Street, NW.       )
Washington, DC 20373-5802           )
                                    )
       Defendant.                   )
____________________________________)

   Come now Gun Owners of America, Inc. and Gun Owners Foundation,

by and through undersigned counsel, and allege as follows:

   1.     This is an action under the Freedom of Information Act, 5 U.S.C. §

552, for injunctive and other appropriate relief and seeking the disclosure and

release of agency records improperly withheld from Plaintiffs by Defendant

United States Secret Service (“USSS”).
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                        JURISDICTION AND VENUE

    2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§1331 and 5 U.S.C. §552(a)(4)(B).

    3.     Venue lies in this district under 28 U.S.C. §1391(e).

                                      PARTIES

    4. Plaintiff Gun Owners of America, Inc. (“GOA”) is a California non-

stock corporation with its principal place of business in Springfield, Virginia.

Gun Owners of America is organized and operated as a non-profit

membership organization, exempt from federal income taxes under Section

501(c)(4) of the U.S. Internal Revenue Code. Gun Owners of America seeks

to promote social welfare through informing and educating the public on and

conducting activities in defense of the Second Amendment and the right to

keep and bear arms.

    5. Plaintiff Gun Owners Foundation (“GOF”) is a Virginia nonstock

corporation, organized and operated as a non-profit legal defense and

educational foundation that is exempt from federal income taxes under

Section 501(c)(3) of the Internal Revenue Code.

    6. Defendant United States Secret Service is an agency within the

meaning of 5 U.S.C. § 552(f). Defendant USSS has possession, custody and

control of records to which Plaintiffs seek access. It may be served by serving
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a copy of the complaint and summons to United States Secret Service, General

Counsel, Suite 8300, 950 H Street, NW., Washington, DC 20373-5802. See

31 CFR Subtitle A, Pt. 1, Subpt. C, App. D, subsection 6.

                                 STATEMENT OF FACTS

      7. On December 29, 2021, Plaintiffs transmitted a Freedom of

Information Act (“FOIA”) request to Defendant USSS. The FOIA was

submitted via email. A true and correct copy of the FOIA is attached as

Exhibit “A.”

      8. On November 1, 2021, Ken Dilanian from NBC News claimed to have

called the USSS to alert the agency to a Palmetto State Armory AR-15 lower

receiver branded as “LETSGO-15.”1 Additionally, Mr. Dilanian tweeted that

“[he] called to ask the Secret Service whether they consider “F—Joe Biden”

emblazoned on an assault rifle to represent a security threat to the president.

Which [he thought was] a reasonable question.”2

      9. Plaintiffs’ FOIA requested the following:

      (a) All       records       constituting       any      and     all
          investigations/inquires/questioning or otherwise regarding the
          Palmetto State Armory lower receiver “LETSGO-15” and Mr.
          Dilanian’s phone call/report/referral to the USSS; and




1   https://twitter.com/KenDilanianNBC/status/1455245963673677835 (last accessed 3.22.2022)
2   https://twitter.com/KenDilanianNBC/status/1455277689280008196 (last accessed 3.22.2022)
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   (b) All       records       constituting     any       and      all
       investigations/inquires/questioning regarding the phrase “Let’s
       Go Brandon” not already produced in request (a) above.

   10. The USSS failed to provide an acknowledgement letter or any

response to the Plaintiffs’ FOIA request.

    11. Since Defendant failed to comply with the time limit set forth in 5

U.S.C. § 552(a)(6)(A)(i), Plaintiffs are deemed to have fully exhausted any

and all administrative remedies with respect to their FOIA request. See 5

U.S.C. § 552(a)(6)(C).

    12. Plaintiffs are nonprofit organizations seeking information with which

to inform and educate the public about the workings of government. Release

of the records requested is in the public interest.

    13. As of the date of this Complaint, USSS has failed to: (i) to fully

comply with Plaintiffs’ FOIA request; and (ii) produce all the requested

records or otherwise demonstrate that the requested records are exempt from

production.

                                 COUNT I
              (Violation of FOIA, 5 U.S.C. §552 Against USSS)

    14. Plaintiffs realleges the preceding paragraphs as if fully stated herein.

    15. Defendant USSS is unlawfully withholding records requested by

Plaintiffs pursuant to 5 U.S.C. §552.

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   16.   Plaintiffs are being irreparably harmed by reason of Defendant’s

unlawful withholding of records responsive to Plaintiffs’ FOIA request, and

Plaintiffs will continue to be irreparably harmed unless Defendant USSS is

compelled to conform its conduct to the requirements of the law.

   WHEREFORE, Plaintiffs respectfully request that the Court:

   (1) Order Defendant to conduct a search for any and all responsive records

to Plaintiffs’ FOIA request and demonstrate that it employed search methods

reasonably likely to lead to the discovery of records responsive to Plaintiffs’

FOIA request;

   (2) Order Defendant to produce, by a date certain, any and all non-exempt

records responsive to Plaintiffs’ FOIA request, and a Vaughn index of any

responsive records withheld under claim of exemption;

   (3) Enjoin Defendant from continuing to withhold any and all non-exempt

records responsive to Plaintiffs’ FOIA request;

   (4) Grant Plaintiffs an award of attorneys’ fees and other litigation costs

reasonably incurred in this action pursuant to 5 U.S.C. §552(a)(4)(E); and

   (5) Grant Plaintiffs such other relief as the Court deems just and proper.

Dated: March 23, 2022.

                                       Respectfully Submitted,
                                       Gun Owners of America, Inc. and
                                       Gun Owners Foundation
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